                        Case 1:21-cr-00294-RC Document 1 Filed 03/17/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                              for the
                                                      District of

                  United States of America                      )
                             v.                                 )
                                                                )       Case No.
                                                                )
                  DOB: XX XX              XX                    )
                                                                )
                                                                )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 January 6, 2021              in the county of                              in the
                                                             , the defendant(s) violated:

            Code Section                                                  Offense Description

     18 U.S.C. § 1752(a)(1) and (2)- Knowingly Entering or Remaining in any Restricted Building or
     Grounds Without Lawful Authority,
     40 U.S.C. § 5104(e)(2)(D) and (G) - Violent Entry and Disorderly Conduct on Capitol Grounds,
     18 U.S.C. § 1512(c)(2) - Obstruction of an Official Proceeding.


         This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                            Complainants signature

                                                                                   Peter W. Wall, Special Agent
                                                                                            Printed name and title




Date:             03/17/2021
                                                                                              Judges signature

City and state:                                                            Robin M. Meriweather, U.S. Magistrate Judge
                                                                                            Printed name and title
